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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PERL FELBERBAUM,
                           Petitioner,                        ORDER
                     -against-
YAAKOV FELBERBAUM,                                            24-CV-02333 (PMH)

                           Respondent.


PHILIP M. HALPERN, United States District Judge:

         On November 20, 2024, the Court signed Petitioner’s proposed order to show cause why

default judgment should not be entered against Respondent. (Doc. 39). The order to show cause

directed Petitioner to serve upon Respondent a copy of that order, together with the papers upon

which it is based, by personal service and by e-mail on or before December 4, 2024; and to file

proof of such service via ECF by December 9, 2024. (Id.). Petitioner has not filed proof of service.

         The Court sua sponte extends the time nunc pro tunc to December 13, 2024 for Petitioner

to file proof that service of the order to show cause and papers upon which it is based were served

upon Respondent by December 4, 2024 in accordance with the Court’s order.

         Petitioner is warned that failure to comply with the Court’s orders may result in dismissal

of this action without prejudice.

                                                  SO ORDERED:

Dated:     White Plains, New York
           December 10, 2024

                                                 PHILIP M. HALPERN
                                                 United States District Judge
